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                                                                     March 8, 2020


      VIA E-MAIL: Jessica.StebbinsBina@lw.com

      Jessica Stebbins Bina
      Latham & Watkins LLP
      10250 Constellation Blvd., Suite 1100
      Los Angeles, CA 90067
      Tel.: (424) 653-5525


                   Re:       Case Name:                     Apple Inc. v. Corellium, LLC
                             Case Number:                   19-CV-81160

      Dear Jessica:

              We are in receipt of Plaintiff’s, Apple Inc. (“Apple” or “Plaintiff”), Responses to
      Defendant’s, Corellium, LLC (“Corellium” or “Defendant”), Second Set of Discovery Requests.
      A review of the Plaintiff’s Responses reveals that several of the individual responses to the
      individual requests are deficient. This correspondence serves as Defendant’s good faith effort to
      resolve the below deficiencies without the need for court intervention. Accordingly, following
      your review of this letter, please either cure said deficiencies or provide a time to discuss said
      deficiencies in the next day. Corellium reserves all rights to address these and other deficiencies
      at the appropriate time.

         I.      Request for Production

            Initially, Apple has stated in response to Request No. 108 that it will produce responsive
      documents. Please identify when these documents will be produced.

                 Request for Production Nos. 100, 101, 102, 103, 104, and 105

               Apple has repeated, in its response to Request Nos. 100, 101, 102, 103, 104, and 105, that
      it will not be seeking damages for any loss of revenue or profits by Apple, and thus, Apple will
      not be producing the requested records to the Requests. In light of Apple’s stated position,
      Corellium agrees to narrow these Requests to seeking only the requested financial records that
      relate to or reflect Apple incurring any financial damage from the Corellium product or any other
      issue alleged in this case. If, after this narrowing, Apple still maintains its position, Corellium
      requests a stipulation with Apple that may be read to the jury that Apple has not incurred any
      financial harm in connection with the Corellium product or any other issue alleged in this case.
      Absent, a stipulation, Corellium will seek an adverse inference in the Court’s consideration as to
      whether Apple has incurred any financial harm as it relates to this case.



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   Request for Production 106 and 107

            The Court denied Corellium’s discovery as to Apple’s internal developments due to
   Apple’s counsel representation to the Court that Apple did not have an emulation, simulation or
   virtualization product. However, Apple answered Corellium’s Interrogatory No. 18 by providing
   a list of programs that do, in fact, have an aspect of “simulation” and “virtualization.” In particular,
   as it relates to the Apple Developer Program and the software product called Xcode. All documents
   that relate to the development of simulation, emulation and virtualization of the iOS are relevant
   in this case as they apply directly to Corellium’s affirmative defenses, specifically Corellium’s fair
   use defense. Apple made the representation on the record that no such product existed and for that
   reason, the Court denied Corellium’s previous requests. Now, Apple has conceded that those
   products, do in fact, relate to emulation, simulation or virtualization.

           Moreover, Apple objects on the basis of burdensome without providing any specificity as
   to how the production of these documents would be burdensome or expensive. Lastly, Apple raises
   a boilerplate objection of “confidential, proprietary, trade secret and/or economic relationships”
   without any explanation as to how this request is proprietary, trade secret and/or economic
   relationship. Apple should not withhold any documents based on confidentiality as the Parties have
   an agreed PO in place [D.E. 50].

          Request for Production 108

           This Request seeks documents that relate to Corellium’s affirmative defense of Fair Use.
   Apple asserts that it will not produce the requested documents because it is Corellium that “bears
   the burden of establishing” the defense. However, this Request is seeking documents to do just
   that. Merely because one has a burden, does not preclude the requested party from producing
   documents. Further, Apple again self-limits itself to producing only documents that are reasonably
   available to it. However, notwithstanding the Court’s prior admonishment of this conduct, per the
   Rules, Apple is obligated to produce known items in the responding party's possession, custody,
   or control. FRCP 34(a)(1). But stating that it will produce some documents, while maintaining the
   stated objections, Apple is responding, subject to formulaic objections, another action that the
   Court as already admonished.

    II.   Interrogatories

           As an initial matter, Apple submitted an unsworn and unverified answer to Corellium’s
   interrogatories. Federal Rule of Civil Procedure 33(b)(5) requires “the person who makes the
   answers must sign them, and the attorney who objects must sign any objections.” Further, it is not
   clear whether an agent of Apple answered the interrogatories as required by the Rules of Civil
   procedure. Fed. R. Civ. P. 33(a); see also Skytruck Co., LLC v. Sikorsky Aircraft Corp., No. 09-
   CV-267, 2011 WL 13137384, at *1 (M.D. Fla. Sept. 23, 2011) (“Rule 33(a) expressly provides
   that interrogatories directed to a corporate party may be answered by any officer or agent who




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   shall furnish such information as is available to the party.”). Apple must provide sworn and verified
   answers to Interrogatories. Please identify when this will happen.

   Interrogatory 13

          Apple is self-limiting its answer to this Interrogatory. Apple responds with the limitation
   of whether it has accessed Corellium employee iCloud accounts “to gain an advantage therein.”
   That was not the request and the Court has already admonished self-limitation. Accordingly, please
   amend to provide a straight forward response.

   Interrogatory 14

          Apple is self-limiting its answer to this Interrogatory. Corellium requested Apple to

                                                             In its answer to this Interrogatory, Apple
   responds
      This answer does not show that Apple has attempted to locate the answer in good faith, when in
   fact leads Corellium to believe that there was more than one Apple employee that provided this
   direction to Christopher Wade that Apple is not disclosing. The interrogatory requires the
   identification of each Apple employee not at least one of the people that provided such direction.
   Further, Apple makes the statement that
                   as an effort of an answer. It does not appear that Apple has made a bona fide effort
   to answer this Interrogatory. See Ecometry Corp. v. Profit Center Software, Inc., No. 06-80083-
   CIV, 2007 WL 9706934, at *8 (S.D. Fla. March 15, 2007) (finding that Plaintiff did not make a
   “bona fide effort to respond to the interrogatory” when answered interrogatory by “Plaintiff has
   not yet determined its damages claims.”).

   Interrogatory 15

           In response to Interrogatory 15, Apple states that “every Apple authorized use of iOS is a
   ‘commercial use.’” This answer fails to answer the Interrogatory, which clearly asks Apple to
   “[i]dentify every intended commercial use of iOS.” Apple’s answer fails to identify even a single
   intended use. Accordingly, Apple should amend its answer by identifying every intended
   commercial use of iOS.

   Interrogatory 16

           In response to Interrogatory 16, Apple provides not a response, but rather, examples of
   “security approaches” which “may be considered technological protection measures.” (Emphasis
   added). The Interrogatory seeks items that are technological protection measures, not items that
   may be—the way that Apple has answered this request leaves the answer open-ended and
   Corellium uncertain as to whether the question has actually been fully answered. A practice that




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   has been frowned upon in the Southern District. Consumer Electronics Ass'n v. Compras & Buys
   Magazine, Inc., No. 08-21085-CIV, 2008 WL 4327253, at *3 (S.D. Fla. Sept. 18, 2008).

   Interrogatory 18

           Apple objects on numerous grounds including the Court making other rulings, relevancy,
   and calling for proprietary information. Further, Apple also asserts objections but then, while
   maintaining its objections, sets forth an answer. Initially, the Court has not ruled that Corellium
   cannot learn of other Apple products that are similar to the Corellium product. Next, Apple has
   already made other similar products relevant, as stated above in its answer to this interrogatory
   (No. 18) and in its Amended Complaint, including Apple Developer Program (para. 21), Xcode
   (para. 22), and the iOS Security Research Device Program (para. 23). Apple has made clear that
   the Corellium Apple Product imposes upon these Apple products and thus, it is relevant for
   Corellium to know exactly what products Apple believes Corellium to be imposing upon. In that
   regard, Corellium has recently learned that Apple intends to cancel the iOS Security Research
   Device Program, which it made a significant deal about at the beginning of this lawsuit. Next, the
   interrogatory in question merely asks Apple to describe each product, the description of which can
   be deemed confidential. At no point was it asked to provide any technical or other similar
   information. This is similar to the Court requiring Corellium to identify which and the number of
   bugs it is aware of, without disclosing further specifics. Finally, the Court has already ruled that
   objecting, but then providing a response subject to those objections is improper. Accordingly,
   please withdraw your objections and provide a fully responsive answer.

           As discussed above, Apple’s responses to Corellium’s Request for Production and
   Interrogatories are deficient. Please identify a time to meet and confer via telephone should you
   have any questions regarding this correspondence. Please let us know when Apple is available to
   meet and confer to resolve these deficiencies.

           Corellium reserves all rights and remedies with respect to the deficiencies identified herein
   as well as with respect to any others that remain in Apple’s responses to Corellium’s Second Set
   of Discovery.

                                                                 Sincerely,

                                                                   /s/ Justin B. Levine

                                                                 Justin B. Levine

   Cc: David Hecht




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